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              IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA


vs.                                No.    4:07CR00127 SWW
                                         (4:09CV00416 SWW)

PABLO AMADOR-VALDEZ


                                   ORDER

      Pending before the Court is defendant’s motion to withdraw the

pending 28 U.S.C. § 2255 motion to vacate, set aside or correct sentence.

The Court has fully considered the motion and finds that the motion

should be granted and the need for the hearing scheduled October 16, 2009

is moot.

      IT IS THEREFORE ORDERED that plaintiffs’ motion to withdraw the

pending 28 U.S.C. § 2255 motion to vacate, set aside or correct sentence

[doc #549] is granted, and the 28 U.S.C. § 2255 motion to vacate, set

aside or correct sentence [doc #526] is hereby denied as moot. The

hearing scheduled October 16, 2009 at 3:00 p.m. is canceled.

      DATED this 16TH day of October 2009.




                                           /s/Susan Webber Wright

                                           UNITED STATES DISTRICT JUDGE
